                 Case 2:14-cr-00184-TOR                    ECF No. 98                filed 06/09/16         PageID.463 Page 1 of 8
                                                                                                                                            FILED IN THE
 2$2%        5HY -XGJPHQWLQD&ULPLQDO&DVH                                                                                U.S. DISTRICT COURT
                6KHHW5HYLVHGE\:$('                                                                                EASTERN DISTRICT OF WASHINGTON




                                              81,7('67$7(6',675,&7&2857                                                         Jun 09, 2016
                                                                                                                                       SEAN F. MCAVOY, CLERK
                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                              &DVH1XPEHU            2:14CR00184-TOR-2
           SEAN MICHAEL BORZAGE BOYD
                                                                              8601XPEHU             21209-081

                                                                                     James Martin Parkins
                                                                              'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1 of the Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                    Nature of Offense                                                                           Offense Ended         Count
18 U.S.C. § 1341                  Conspiracy to Commit Mail and Wire Fraud                                                         01/01/14             1




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                        8         RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                2 - 16                                     G LV       ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                        G
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               6/9/2016
                                                              'DWHRI
                                                              'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                        ,P
                                                                         PSRV
                                                                          SRV
                                                                          SR
                                                                           R LWL
                                                                              WLRQRI-XGJPHQWW
                                                                              WL




                                                              6LJQDW
                                                              6LJQDWXUHRI-XGJH
                                                                   QDW
                                                                   QD
                                                                    DWXUH RI -XGJH




                                                             The Honorable Thomas O. Rice                          Chief Judge, U.S. District Court
                                                              1DPHDQG7LWOHRI-XGJH
                                                              


                                                                                                      6/9/2016
                                                              'DWH
                                                              
                  Case 2:14-cr-00184-TOR                  ECF No. 98         filed 06/09/16          PageID.464 Page 2 of 8
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              6KHHW²,PSULVRQPHQW

                                                                                                           -XGJPHQW²3DJH   2   RI   8
'()(1'$17 SEAN MICHAEL BORZAGE BOYD
&$6(180%(5 2:14CR00184-TOR-2


                                                                IMPRISONMENT

        7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
WRWDOWHUPRI      36 months




  ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
  G
 Defendant receive credit for the time served in federal custody prior to sentencing in this matter.
 Defendant participate in the BOP Inmate Financial Responsibility Program.


  G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

  G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G     DW                                     G DP     G SP         RQ                                          

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

  ✔ 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
  G
          G     EHIRUHSPRQ                                             

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

          ✔ DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH
          G

                                                                      RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                             WR

DW                                                     ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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                                                                                                     '(387<81,7('67$7(60$56+$/
                 Case 2:14-cr-00184-TOR                  ECF No. 98         filed 06/09/16        PageID.465 Page 3 of 8
$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                          -XGJPHQW²3DJH
                                                                                                                             3     RI
                                                                                                                                               8
'()(1'$17 SEAN MICHAEL BORZAGE BOYD
&$6(180%(5 2:14CR00184-TOR-2
                                                         SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI              3 years



        7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
FXVWRG\RIWKH%XUHDXRI3ULVRQV
7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)

✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
G
✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
G

G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
  DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
      ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
          7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO
                                                                                                                                    FRQGLWLRQV
RQWKHDWWDFKHGSDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
         WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQ XQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
          DFFHSWDEOHUHDVRQV
         WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
         WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRO
         WKHGHIHQGDQWVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\FRQWUROOHGVXEVWDQFHRUSDUDSKHUQDOLDUHODWHGWR
          DQ\FRQWUROOHGVXVEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ8VHDFTXLVLWLRQRUSRVVHVVLRQRIPDULMXDQDZLWKRUZLWKRXWD
          SK\VLFLDQ VSUHVFULSWLRQLVSURKLELWHG
         WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
        WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
          IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
        WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQ LQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRX WWKH
          SHUPLVVLRQRIWKHFRXUWDQG
        DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
          UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
          GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
             Case 2:14-cr-00184-TOR                   ECF No. 98      filed 06/09/16        PageID.466 Page 4 of 8
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW&²6XSHUYLVHG5HOHDVH
                                                                                                     -XGJPHQW²3DJH     4      RI        8
'()(1'$17 SEAN MICHAEL BORZAGE BOYD
&$6(180%(5 2:14CR00184-TOR-2

                                         SPECIAL CONDITIONS OF SUPERVISION
 15) Defendant shall provide the supervising officer with access to any requested financial information, including authorization to
 conduct credit checks and obtain copies of your federal income tax returns. Defendant shall disclose all assets and liabilities to the
 supervising officer. Defendant shall not transfer, sell, give away, or otherwise convey any asset, without the advance approval of the
 supervising officer. Defendant shall notify the probation officer of any material change in the defendant’s economic circumstances that
 might affect the defendant’s ability to pay any unpaid amount of restitution, fine, or special assessments.

 16) Defendant shall not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance
 approval of the supervising officer.

 17) Defendant shall submit his person, residence, office, vehicle and belongings to a search, conducted by a probation officer, at a
 sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
 Failure to submit to search may be grounds for revocation. Defendant shall warn persons with whom he shares a residence that the
 premises may be subject to search.
               Case 2:14-cr-00184-TOR                    ECF No. 98       filed 06/09/16          PageID.467 Page 5 of 8
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                     -XGJPHQW²3DJH       5      RI       8
'()(1'$17 SEAN MICHAEL BORZAGE BOYD
&$6(180%(5 2:14CR00184-TOR-2
                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                      Fine                                   Restitution
TOTALS                $100.00                                         $0.00                                  $2,872,300.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO              $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                          Total Loss*            Restitution Ordered       Priority or Percentage

  Terrance & Kathleen Alvord                                                    $15,000.00              $15,000.00
  Leo J Ambrogi, II                                                             $10,000.00              $10,000.00
  Mike & Sheng-Ming Au Yong                                                      $3,000.00                  $3,000.00

  Stanley J Barrett                                                             $40,000.00              $40,000.00

  Dr. Alan & Loretta Birk                                                       $10,000.00              $10,000.00
  Michael & Marsha Blanding                                                     $15,000.00              $15,000.00
  Michael J Cannell                                                             $14,500.00              $14,500.00
  Rick Christenson                                                              $20,800.00              $20,800.00

  David T Dozier                                                                 $5,000.00                  $5,000.00
  Paul & Christine Duncan                                                      $105,000.00             $105,000.00

  Ronald & Jodie Edwards                                                         $5,000.00                  $5,000.00


TOTALS                                                2,872,300.00                         2,872,300.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

✔
G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      ✔ WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G
      G                                                   ✔ UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
              Case 2:14-cr-00184-TOR                  ECF No. 98      filed 06/09/16       PageID.468 Page 6 of 8
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW%²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      6     RI        8
'()(1'$17 SEAN MICHAEL BORZAGE BOYD
&$6(180%(5 2:14CR00184-TOR-2

                                             ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority or
Name of Payee                                                      Total Loss*            Restitution Ordered             Percentage

  Edward L Fronapfel                                                    $1,177,000.00            $1,177,000.00     After each $1000 or
  Diane & Paul Garbaccio                                                   $10,000.00               $10,000.00     more is collected by
  Erich & Monica Gaudlitz                                                  $10,000.00               $10,000.00     the Clerk of Court,
  Dr. Robert & Adele Gibson                                                 $5,000.00                $5,000.00     pro rata distribution

  Larry & Gloria Hays                                                      $48,000.00               $48,000.00     to all payees.
  Bo William Holder - ICS Leasing                                          $10,000.00               $10,000.00
  Steve & Lucy Isbell                                                      $10,000.00               $10,000.00
  Peter Kam                                                               $110,000.00              $110,000.00
  Michael & Denise Larson                                                 $160,000.00              $160,000.00

  Tam K McGee                                                              $10,000.00               $10,000.00
  Kevin L Pena                                                             $35,000.00               $35,000.00
  Antonio Prado                                                           $100,000.00              $100,000.00
  Gary J Roling                                                             $5,000.00                $5,000.00
  Igor Sapo                                                                $35,000.00               $35,000.00

  Gary Sargent                                                              $1,500.00                $1,500.00
  David W Shaw & Joshua Allen Shaw                                         $20,000.00               $20,000.00
  Anthony & Janet Shortino -Superior Technology                            $24,000.00               $24,000.00
  Yelena Simonyan                                                          $50,000.00               $50,000.00
  Lon Slechta                                                              $15,000.00               $15,000.00

  Steven & Cynthia Stoaks                                                  $10,000.00               $10,000.00
  Lynn Stoller - Stoller International                                    $757,500.00              $757,500.00
  Rebecca & Glenn Vieira                                                   $15,000.00               $15,000.00




       )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQ
RUDIWHU6HSWHPEHUEXWEHIRUH$SULO
              Case 2:14-cr-00184-TOR                  ECF No. 98      filed 06/09/16       PageID.469 Page 7 of 8
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5B — Criminal Monetary Penalties
                                                                                                   Judgment—Page      7     of       8
DEFENDANT: SEAN MICHAEL BORZAGE BOYD
CASE NUMBER: 2:14CR00184-TOR-2

                                             ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority or
Name of Payee                                                      Total Loss*            Restitution Ordered             Percentage

  Tom & Kathleen Wilson                                                    $11,000.00               $11,000.00




      * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                Case 2:14-cr-00184-TOR                    ECF No. 98           filed 06/09/16     PageID.470 Page 8 of 8
$2%      5HY -XGJPHQWLQD&ULPLQDO&DVH
            6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH     8      RI       8
'()(1'$17 SEAN MICHAEL BORZAGE BOYD
&$6(180%(5 2:14CR00184-TOR-2

                                                         SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A    G     /XPSVXPSD\PHQWRI                               GXHLPPHGLDWHO\EDODQFHGXH

           G      QRWODWHUWKDQ                                     RU
           G      LQDFFRUGDQFH           G &          G '     G     (RU    G )EHORZRU
B    ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
     G                                                                         G &     G 'RU   ✔)EHORZ RU
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C    G     3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G     3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
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           WHUPRIVXSHUYLVLRQRU

E    G     3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
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     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $100.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $250.00 per month or 10% of
     the defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from
     imprisonment.

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GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
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7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

✔ -RLQWDQG6HYHUDO
G
     &DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU DQG'HIHQGDQWDQG&R'HIHQGDQW1DPHV7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
          14-CR-184-TOR-1 Erick Halkier Hansen                 $2,872,300.00      $2,872,300.00




G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
G
      A money judgment in the amount of $395,000.00 against Defendant, joint and several with co-defendant Erick Halkier Hansen.



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
